UNITED STATES DISTRICT CouRT OO CLP Document 5 Filed 01/03/24 Page 1 of 1 PagelD #: 31
EASTERN DISTRICT OF NEW YORK

: TY | eS N
TIMOTHY HERNANDEZ ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY COURT DATE & TIME: AT

SITUATED INDEX #: 23-CV-9355
DATE FILED: 12/21/2023
Plainti Job #: 584520
vs f Client File#

FRANCO'S FASHION INC STEIN SAKS, PLLC
ONE UNIVERSITY PLAZA
SUITE 620
Defendant HACKENSACK, NJ 07601

CLIENT’S FILE NO.: AFFIDAVIT OF SERVICE UPON A CORPORATION
STATE OF NEW YORK: COUNTY OF NASSAU ss:

I, Ricardo Curo, being duly sworn deposes and says deponent is not a party to this action and is over the age
of eighteen years and resides in the State of New York.

That on 12/29/2023 at 2:35 PM at 94-17 ROOSEVELT AVE, JACKSON HEIGHTS, NY 11372, deponent
served the within SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT AND DEMAND

FOR JURY TRIAL

by personally delivering to and leaving with Isabel Perves for FRANCO'S FASHION INC, a true copy
thereof, and that deponent knew the person so served to be the AUTHORIZED PARTY/Managing Agent
and stated (s)he was authorized to accept legal papers for the corporation.

Said documents were conformed with index number and date of filing endorsed thereon.

A description of the person served on behalf of the defendant is as follows:
Approx Age: 36 - 50 Yrs., Approx Weight: 161-200 Lbs., Approx Height: 5' 4" - 5' 8", Sex: Female,

Approx Skin: Brown, Approx Hair: Black
Other:

Sworn to before me on / / 2fe4
EUGENE SOKOLOV #01S00000204 YR

Notary Public State of New York

RICHMOND County, Commission Expires 02/02/2027 Ricardo Curo

2034227

SUPREME JupiciaL Services, INC. 371 MERRICK ROAD - ROCKVILLE CENTRE, N.Y. 11570 Lick 1092373
